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AO 440 (Rev, 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

TIMOTHY GRECO, MD, JAY CONSTANTINE, DAVID GIBBONS,
AUGUSTUS J MANDRACCHIA, SR., RON BATTAGLIA, PATRICK
BATTAGLIA, DAVID MELLE, WILLIAM J DONOVAN, PATRICIA

CARCAREY, STEVE CARCAREY, JOSEPH GRECO, PHILIP
BRUNOZZI, JOSEPH KOYE, WILLIAM L KRZEMIEN, JR,
DEBORAH SPINOSA, BLAKE CHRISTOPH, THOMAS PAPPAS,

FRANK CAIKOWSKI, JOHN CAIKOWSKI, ROBERT GRAY, DON

ZAJICK, RACHAEL ZAJICK, STUART SPINKS, WHITNEY SPINKS,
STEVE SPINKS

Plaintiff(s)

v. Civil Action No.  20-cv-2235

PEOPLE'S REPUBLIC OF CHINA, CHINESE
COMMUNIST PARTY

Defendant(s)

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CLERK OF COURT

ol Tom Dempoey

Signature of Clerk or Deputy Clerk

Date: §/12/2020

   

Kate Ba) n, Clerkof Court
US. nan DAE nc of PA

 

 

 

 
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Civil Action No. 20-2235

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

[| I personally served the summons on the individual at (place)

on (date) ; or

[_] I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

[_] I served the summons on (name of individual) , Who is

 

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
[_] I returned the summons unexecuted because 5 or
L] Other (specify):
My fees are $ for travel and $ for services, for a total of $

I declare under penalty of perjury that this information is true.

Date:

 

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
